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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 SHARYL THOMPSON ATTKISSON,
 et al.,

        Plaintiffs,

 v.                                                  Civil Action No. 1:17-cv-364 (LMB/JFA)

 ERIC HOLDER, et al.,

        Defendants.


       PLAINTIFFS’ MOTION FOR STATUS CONFERENCE AND MOTION FOR
               EXTENSION OF CERTAIN DISCOVERY DEADLINES

        On September 25, 2017, the Court released the parties to begin discovery. Since that time,

 Plaintiffs took a deposition of as USPS representative regarding IP addresses; served twenty (20)

 subpoenas on third parties; and on October 25, 2017 submitted a request to the government for the

 deposition of one or more representatives of the FBI to respond to inquiries about an FBI policy

 in place during the relevant time frame pertaining to surveillance of journalists. Plaintiffs have

 spent the past ten (10) working days meeting and conferring with representatives of the various

 subpoenaed parties to refine the scope and search terms for production of third-party records in an

 effort to avoid court hearings, and have also been meeting and conferring with the various

 government agencies regarding Touhy compliance, scope and search issues associated with

 subpoenas directed to the eight (8) agencies.

        In the interim, the Court entered an Order dismissing certain claims, but leaving intact

 multiple claims against the John Doe defendants. Under the existing schedule, Plaintiffs’ expert

 disclosure is due November 20, 2017, and fact discovery is scheduled to close on January 12, 2018.


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 Given the discovery completed to date, Plaintiffs have identified one and possibly two parties they

 anticipate moving to substitute for the Doe defendants. Plaintiffs anticipate being in a position to

 make that initial substitution upon receipt of outstanding discovery requested from the third-parties

 and from the government.

        In light of the foregoing, Plaintiffs request a brief status conference to address managing

 future proceedings, discovery, and the timing of the substitution of parties for the Doe defendants.

 Additionally, Plaintiffs request that the scheduling order be modified to extend the discovery

 window and to extend the deadline for expert disclosure, given that Plaintiffs have not yet received

 substantial discovery despite working diligently to do so.



 Dated this 16th day of November, 2017.
                                                       Respectfully Submitted,

                                                       SHARYL THOMPSON ATTKISSON
                                                       JAMES HOWARD ATTKISSON
                                                       SARAH JUDITH STARR ATTKISSON

                                                       By Counsel

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of November, 2017, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 such filing (NEF) to the following counsel of record:

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